USDC-SDNY

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UNITED STATES DISTRICT COURT DOC#:
SOUTHERN DISTRICT OF NEW YORK DATE FILED: |) 2.6.

JOSH GLEN, individually and on behalf of
all others similarly situated,

Plaintiff No. 19-CV-11429 (RA)

ORDER AND NOTICE
v. OF INITIAL CONFERENCE

ROSE & ROSE,

Defendant.

RONNIE ABRAMS, United States District Judge:
This case has been assigned to me for all purposes. It is hereby:
ORDERED that counsel for all parties appear for an initial status conference on
February 28, 2020 at 2 P.M. in Courtroom 1506 of the U.S. District Court for the Southern
District of New York, 40 Foley Square, New York, New York.
IT IS FURTHER ORDERED that, by February 21, 2020, the parties submit a

joint letter, not to exceed five (5) pages, providing the following information in separate

paragraphs:

1. A brief description of the nature of the action and the principal defenses
thereto;

2. A brief explanation of why jurisdiction and venue lie in this Court. [f any
party is a corporation, the letter shall state both the place of incorporation
and the principal place of business, If any party is a partnership, limited
partnership, limited liability company or trust, the letter shall state the
citizenship of each of the entity’s members, shareholders, partners and/or
trustees;

3. A brief description of all contemplated and/or outstanding motions;

4, A brief description of any discovery that has already taken place, and/or

that which will be necessary for the parties to engage in meaningful
settlement negotiations;

5. A brief description of prior settlement discussions (without disclosing the
parties’ offers or settlement positions) and the prospect of settlement;

6. The estimated length of trial; and

7. Any other information that the parties believe may assist the Court in
advancing the case to settlement or trial, including, but not limited to, a
description of any dispositive issue or novel issue raised by the case.

IT IS FURTHER ORDERED that, by February 21, 2020, the parties jointly
submit to the Court a proposed case management plan and scheduling order. A template for the
order is available at https://nysd.uscourts.gov/hon-ronnie-abrams. The status letter and the
proposed case management plan should be filed electronically on ECF, consistent with the
Court’s Electronic Case Filing (ECF) Rules & Instructions, which were updated on February 1,
2019, and are available at https://nysd.uscourts.gov/rules/ecf-related-instructions. Please consult
my Individual Rules and Practices with respect to communications with Chambers and related
matters.

Plaintiff is ordered to serve Defendant with a copy of this order and to file an
affidavit on ECF certifying that such service has been effectuated.

SO ORDERED.

Dated: December 19, 2019
New York, New York fhe -

Ronnie Abrams
United States District Judge

